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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                   §
                                            §
                                            §
                                            §
VS.                                         §            CRIMINAL NO. H-111-777
                                            §
                                            §
                                            §
FREDERICK SEARS                             §


                                        ORDER

       Counsel for defendant Sears filed a motion to withdraw as counsel. (Docket Entry No.

33). The motion is GRANTED. Magistrate Judge Mary Milloy will appoint new counsel

for this defendant.


              SIGNED on December 7, 2011, at Houston, Texas.


                                                ______________________________________
                                                         Lee H. Rosenthal
                                                   United States District Judge
